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                 IN THE UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION

  UNITED STATES OF AMERICA,

  v.                                             DC:         3:22-cr-141-TJC-PDB

  SCOTT ANDREW HOLLINGTON,
      Respondent.


                               NOTICE OF APPEAL

        Pursuant to Title 18, Section 3742, United States Code (2025), and Rule 4(b),

  Federal Rules of Appellate Procedure (2025), notice is hereby given that Defendant,

  SCOTT ANDREW HOLLINGTON, by and through the undersigned appointed

  counsel, appeals to the Eleventh Circuit Court of Appeals the Judgment and

  Sentence rendered on March 28, 2024. The district court previously declared Mr.

  Hollington indigent and appointed him counsel. See Dkt259.

        Submitted on this 8th day of April 2025.

                                                       /s/ Valarie Linnen
                                                       VALARIE LINNEN, ESQ.
                                                       Florida Bar No.: 63291
                                                       841 Prudential Drive
                                                       12th Floor
                                                       Jacksonville, FL 32207
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                                                       Attorney for Appellant




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                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing has been furnished to the

  following via electronic case mail delivery on this 8th day of April 2025:

        Office of the United States Attorney



                                                       /s/ Valarie Linnen
                                                       VALARIE LINNEN, ESQ.
                                                       Florida Bar No.: 63291




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